

Matter of Argento (2023 NY Slip Op 04339)





Matter of Argento


2023 NY Slip Op 04339


Decided on August 17, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 17, 2023

PM-172-23
[*1]In the Matter of Zoe Marie Argento, an Attorney. (Attorney Registration No. 4801783.)

Calendar Date:August 7, 2023

Before:Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and McShan, JJ.

Zoe Marie Argento, Denver, Colorado, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Zoe Marie Argento was admitted to practice by this Court in 2010 and lists a business address in Denver, Colorado with the Office of Court Administration. Argento now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Argento's application.
Upon reading Argento's affidavit sworn to June 9, 2023 and filed June 14, 2023, and upon reading the August 1, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Argento is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Aarons, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that Zoe Marie Argento's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Zoe Marie Argento's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Zoe Marie Argento is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Argento is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Zoe Marie Argento shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








